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From: Josh Gruenbaum - Q <josh.gruenbaum@gsa.gov>
Sent: Monday, March 31, 2025 3:17 PM
To: Garber, Alan M <alan_garber@harvard.edu>
Cc: Alan M. Garber <president@harvard.edu>
Subject: Oﬃcial noLce: Task Force to Combat AnL-SemiLsm review of Federal Contracts
and Grants Held by Harvard University

Dr. Garber,

Consistent with my role as the Commissioner of the General Service
Administration's Federal Acquisition Service, and as a member of the
Federal Government’s Task Force to Combat Anti-Semitism, I am notifying
you that GSA is leading a Task Force comprehensive review of all Federal
contracts and grants held by Harvard University and its affiliates. This review
is being conducted in support of President Trump's Executive Order,
“Additional Measures to Combat Anti-Semitism”, on February 3, 2025.

Please find attached to this email the signed memorandum supporting this
action. This memorandum includes additional requirements that Harvard
University and its affiliates need to meet as part of this review.


Respectfully,

Josh Gruenbaum
Commissioner, Federal Acquisition Service
U.S. General Services Administration
